         Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 1 of 18




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :          Crim. No. 21-cr-00032 (DLF)
                                              :
               v.                             :
                                              :
GUY WESLEY REFFITT,                           :
                                              :
                       Defendant.             :

                             PROPOSED JURY INSTRUCTIONS

       Following the February 18, 2022, pretrial conference, the parties hereby jointly propose

the following final substantive jury instructions:

       1. Count One, Transporting a Firearm in Furtherance of a Civil Disorder, 18 U.S.C. §
          231(a)(2). This government solely proposes including the words “or travel”; the
          defense does not join.

               a. Elements

               b. Definitions

       2. Count Two, Obstruction of an Official Proceeding, 18 U.S.C. § 1512(c)(2). This is
          solely the government’s proposal; the defense does not join.

               a. Elements

               b. Definitions

               c. Attempt

               d. Aiding and Abetting

       3. Count Three, Entering or Remaining in a Restricted Building or Grounds with a Deadly
          or Dangerous Weapon Firearm, 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

               a. Elements

               b. Definitions

       4. Count Four, Obstructing Officers During a Civil Disorder, 18 U.S.C. § 231(a)(3)

               a. Elements



                                                     1
 Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 2 of 18




      b. Definitions

      c. Attempt

5. Count Five, Obstruction of Justice—Hindering Communication Through Force or
   Threat of Physical Force, 18 U.S.C. § 1512(a)(2)(C)

      a. Elements

      b. Attempt




                                   2
         Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 3 of 18




                                        Count 1 (Elements)

     TRANSPORTING A FIREARM IN FURTHERANCE OF A CIVIL DISORDER

       Count 1 of the indictment charges the defendant with transporting a firearm in commerce

while knowing, having reason to know, or intending that it would be used unlawfully to further a

civil disorder, which is a violation of federal law.

       In order to the find the defendant guilty of this offense, you must find that the government

proved each of the following two elements beyond a reasonable doubt:

       First, that the defendant transported a firearm in commerce;

       Second, that the defendant did so knowing, having reason to know, or intending that the

firearm would be used unlawfully in furtherance of a civil disorder.




                                                  3
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 4 of 18




                                      Count 1 (Definitions)

         TRANSPORTING A FIREARM IN FURTHERANCE OF A CIVIL DISORDER

       The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c) results

in injury to another individual, or (d) results in damage to another individual’s property.

       The term “commerce” means commerce or travel 1 between one state, including the District

of Columbia, and any other state, including the District of Columbia. It also means commerce

wholly within the District of Columbia.

       A “firearm” includes any weapon which is designed to or may readily be converted to

expel any projectile by the action of an explosive; or the frame or receiver of any such weapon.


1
  The government makes this proposal to include “or travel”; the defense does not join, because
the parties previously agreed to delete it. Below, the government responds to the Court’s request
for authority for these words, in addition to the district court’s decision in United States v. Pugh,
No. 20-cr-73 (S.D. Ala. May 19, 2021). A legal dictionary definition of “commerce” supports
including the word travel. See COMMERCE, Black’s Law Dictionary (11th ed. 2019) (defining
“interstate commerce” as “[t]rade and other business activities between those located in different
states; esp., traffic in goods and travel of people between states”) (emphasis added). A pattern
jury instruction also supports including the word travel. See The William J. Bauer Pattern
Criminal Jury Instructions of the Seventh Circuit at § 922(g) (instructing that the phrase “in or
affecting commerce” for purposes of 18 U.S.C. § 922(g) is satisfied if the firearm “has traveled
between one state and any other state or country) (emphasis added). And in the context of Section
922(g)’s predecessor statute, the Supreme Court affirmed the government’s position that to
“establish a nexus with interstate commerce” the government “need prove only that the firearm
possessed by the convicted felon traveled at some time in interstate commerce.” Scarborough v.
United States, 431 U.S. 563, 568 (1977) (emphasis added). Citing the Supreme Court’s
Commerce Clause jurisprudence, courts have held that the statutory phrase “person . . . in interstate
commerce” means a person who “traveled” between states. See United States v. May, 535 F.3d
912, 921 (8th Cir. 2008) (citing United States v. Lopez, 514 U.S. 549, 558-59 (1995)). Other
definitions of “commerce” in the U.S. Code also support including travel in the definition. See,
e.g., 42 U.S.C. § 2000a(e) (“‘[C]ommerce’ means travel, trade, traffic, commerce, transportation,
or communication among the several States, or between the District of Columbia and any State.”);
42 U.S.C. § 2000e(g) (“The term ‘commerce’ means trade, traffic, commerce, transportation,
transmission, or communication among the several States.”).


                                                 4
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 5 of 18




                                     Count Two (Elements)

                    OBSTRUCTION OF AN OFFICIAL PROCEEDING

       Count 2 of the indictment charges the defendant with corruptly obstructing an official

proceeding, which is a violation of the law.

       In order to the find the defendant guilty of this offense, you must find that the government

proved each of the following four elements beyond a reasonable doubt:

       First, the defendant attempted to or did obstruct or impede any an official proceeding.

       Second, the defendant acted with the intent intended to obstruct or impede an the official

proceeding.

       Third, the defendant acted knowingly, with awareness that the natural and probable effect

of his conduct was would be to obstruct or impede the official proceeding.

       Fourth, the defendant acted corruptly.




                                                5
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 6 of 18




                                    Count Two (Definitions)

                     OBSTRUCTION OF AN OFFICIAL PROCEEDING

       The term “official proceeding” includes a proceeding before the Congress. The official

proceeding need not be pending or about to be instituted at the time of the offense. If the

official proceeding was not pending or about to be instituted, the government must prove beyond

a reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As

used in Count 2, the term “official proceeding” means Congress’s Joint Session to certify the

Electoral College vote.

       To act “corruptly,” the defendant must use unlawful means or act with have an unlawful

improper purpose, or both. The defendant must also act with “consciousness of wrongdoing.”

“Consciousness of wrongdoing” means with an understanding or awareness that what the person

is doing is wrong.

       Not all attempts to obstruct or impede an official proceeding involve acting corruptly.

For example, a witness in a court proceeding may refuse to testify by invoking his constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does

not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by

bribing a witness to refuse to testify in that proceeding, or by engaging in other independently

unlawful conduct, does act corruptly.




                                                 6
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 7 of 18




                                     Count Two (Attempt)

                     OBSTRUCTION OF AN OFFICIAL PROCEEDING

       In Count 2, the defendant is charged with attempt to commit the crime of obstruction of

an official proceeding. An attempt to commit obstruction of an official proceeding is a crime

even though the defendant did not actually complete the crime of obstruction of an official

proceeding.

       In order to find the defendant guilty of attempt to commit obstruction of an official

proceeding, you must find that the government proved beyond a reasonable doubt each of the

following two elements:

       First, that the defendant intended to commit the crime of obstruction of an official

proceeding, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of an

official proceeding which strongly corroborates or confirms that the defendant intended to

commit that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he thought about it.

You must find that the evidence proved beyond a reasonable doubt that the defendant’s mental

state passed beyond the stage of thinking about the crime to actually intending to commit it.

       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he made some plans to

or some preparation for committing that crime. Instead, you must find that the defendant took

some firm, clear, undeniable action to accomplish his intent to commit obstruction of an official

proceeding. However, the substantial step element does not require the government to prove

that the defendant did everything except the last act necessary to complete the crime.


                                                7
           Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 8 of 18




                                Count Two (Aiding and Abetting)

                     OBSTRUCTION OF AN OFFICIAL PROCEEDING

       A person may be guilty of an offense because he personally committed the offense or

because he aided and abetted another person in committing the offense. A person who has aided

and abetted another person in committing the offense is often called an accomplice. The person

whom the accomplice aids and abets is known as the principal.

       In this case, the government alleges that the defendant aided and abetted others in

committing obstruction of an official proceeding as charged in Count 2. In order to find the

defendant guilty of obstruction of an official proceeding because he aided and abetted others in

committing this offense, you must find the that the government proved beyond a reasonable

doubt the following four requirements:

       First, others committed obstruction of an official proceeding by committing each of the

elements of the offense charged, as I have explained those elements to you in these instructions.

       Second, that the defendant knew that obstruction of an official proceeding was going to

be committed or was being committed by others.

       Third, that the defendant performed some act or acts in furtherance of the offense

charged.

       Fourth, that the defendant knowingly performed those act or acts for purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing the specific offense

charged and with the intent that others commit that specific offense.

       To show that the defendant performed an act or acts in furtherance of the offense

charged, the government needs to show some affirmative participation by the defendant which at

least encouraged others to commit the offense. That is, you must find that the defendant’s act or

acts did, in some way, aid, assist, facilitate, or encourage others to commit the offense. The


                                                  8
         Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 9 of 18




defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of

the offense charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or

encourage only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.

        In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence including the defendant’s words and actions and the other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abetter. If the

evidence shows that the defendant knew that the offense was being committed or was about to be

committed, but does not also prove beyond a reasonable doubt that it was the defendant’s intent

and purpose to aid, assist, encourage, facilitate, or otherwise associate himself with the offense,

you may not find the defendant guilty of the obstruction of an official proceeding as an aider and

abettor. The government must prove beyond a reasonable doubt that the defendant in some way

participated in the offense committed by others as something the defendant wished to bring about

and to make succeed.




                                                    9
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 10 of 18




                                     Count Three (Elements)

ENTERING OR REMAINING IN A RESTRICTED BUILDING OR GROUNDS WITH A
             DEADLY OR DANGEROUS WEAPON FIREARM

       Count 3 of the indictment charges the defendant with entering or remaining in a restricted

building or grounds while using or carrying a dangerous or deadly weapon firearm, which is a

violation of federal law.

       In order to find the defendant guilty of this offense, you must find that the government

proved each of the following four three elements beyond a reasonable doubt:

       First, that the defendant entered or remained in a restricted building or grounds without

lawful authority to do so.

       Second, that the defendant did so knowingly.

       Third, that the defendant had no lawful authority to do so.

       Fourth Third, that the defendant used or carried a deadly or dangerous weapon firearm

during and in relation to the offense.




                                               10
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 11 of 18




                                   Count Three (Definitions)

ENTERING OR REMAINING IN A RESTRICTED BUILDING OR GROUNDS WITH A
             DEADLY OR DANGEROUS WEAPONFIREARM

        The term “restricted building or grounds” means any posted, cordoned off, or otherwise

restricted area of a building or grounds where a person protected by the Secret Service is or will

be temporarily visiting.

        The term “person protected by the Secret Service” includes the Vice President, and the

immediate family of the Vice President, and the Vice President Elect.

        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of his

conduct, and does not act through ignorance, mistake, or accident. In deciding whether the

defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said.

        A “dangerous or deadly weapon” means any object that can be used to inflict severe bodily

harm or injury.   The object need not actually be capable of inflicting harm or injury.   Rather, an

object is a deadly or dangerous weapon if it, or the manner in which it is used, would cause fear in

the average person.

        The term “firearm” has the same meaning I gave you previously.




                                                11
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 12 of 18




                                      Count Four (Elements)

                  OBSTRUCTING OFFICERS DURING A CIVIL DISORDER

        Count 4 charges the defendant with committing or attempting to commit an act to obstruct,

impede, or interfere with law enforcement officers lawfully carrying out their official duties

incident to a civil disorder, which is a violation of federal law.

        In order to find the defendant guilty of this offense, you must find the following three

elements beyond a reasonable doubt:

        First, the defendant knowingly committed an act or attempted to commit an act with the

intended purpose of obstructing, impeding, or interfering with one or more law enforcement

officers.

        Second, at the time of the defendant’s actual or attempted act, the law enforcement officer

or officers were engaged in the lawful performance of their official duties incident to and during a

civil disorder.

        Third, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.




                                                  12
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 13 of 18




                                    Count Four (Definitions)

               OBSTRUCTING OFFICERS DURING A CIVIL DISORDER

       The terms “civil disorder” and “commerce” have the same meaning I gave you previously.

       The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof.

       The term “department” includes executive departments. The Department of Homeland

Security, which includes the United States Secret Service, is an executive department.

       The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States.




                                                13
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 14 of 18




                                      Count Four (Attempt)

                OBSTRUCTING OFFICERS DURING A CIVIL DISORDER

        In Count 4, the defendant is charged with attempt to commit the crime of obstructing

officers during a civil disorder. An attempt to obstruct officers during a civil disorder is a federal

crime even though the defendant did not actually complete the crime of obstructing officers during

a civil disorder.

        In order to find the defendant guilty of attempt to commit the crime of obstructing officers

during a civil disorder, you must find that the government proved beyond a reasonable doubt each

of the following two elements:

        First, that the defendant intended to commit the crime of obstructing officers during a civil

disorder, as I have defined that offense above.

        Second, that the defendant took a substantial step toward committing the crime of

obstructing officers during a civil disorder, which strongly corroborates or confirms that the

defendant intended to commit that crime.

        With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit the crime of obstructing officers during a civil disorder merely because he

thought about it. You must find that the evidence proved beyond a reasonable doubt that the

defendant’s mental state passed beyond the stage of thinking about the crime to actually intending

to commit it.

        With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit the crime of obstructing officers during a civil disorder merely because he made

some plans to or some preparation for committing that crime. Instead, you must find that the

defendant took some firm, clear, undeniable action to accomplish his intent to commit the crime

of obstructing officers during a civil disorder. However, the substantial step element does not


                                                  14
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 15 of 18




require the government to prove that the defendant did everything except the last act necessary to

complete the crime.




                                               15
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 16 of 18




                                     Count Five (Elements)

    OBSTRUCTION OF JUSTICE – HINDERING COMMUNICATION THROUGH
           PHYSICAL FORCE OR THREAT OF PHYSICAL FORCE

       Count 5 of the indictment charges the defendant with using physical force or threatening

to use physical force against Jackson Reffitt and Peyton Reffitt to hinder, delay, or prevent their

communication to law enforcement officer or a federal judge, which is a violation of the law.

       In order to the find the defendant guilty of this offense, you must find that the government

proved each of the following four elements beyond a reasonable doubt:

       First, that the defendant knowingly used or attempted to use physical force or the threat of

physical force against Jackson Reffitt or Peyton Reffitt.

       Second, that the defendant acted with intent to hinder, delay, or prevent Jackson Reffitt or

Peyton Reffitt from communicating to law enforcement information relating to the commission or

possible commission of an offense.

       Third, that there was a reasonable likelihood that at least one of the communications

targeted by the defendant would have been made to a federal officer.

       Fourth, the information that would have been communicated related to the possible

commission of a federal offense.

       The government need not prove that the defendant knew that the information related to a

federal offense or knew that the communications were reasonably likely to reach a federal officer.




                                                16
        Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 17 of 18




                                      Count Five (Attempt)

    OBSTRUCTION OF JUSTICE – HINDERING COMMUNICATION THROUGH
           PHYSICAL FORCE OR THREAT OF PHYSICAL FORCE

       In Count 5, the defendant is charged with attempt to commit the crime of obstruction of

justice through physical force or threat of physical force. An attempt to commit obstruction of

justice through physical force or threat of physical force is a federal crime even though the

defendant did not actually complete the crime of obstruction of justice through physical force or

threat of physical force.

       In order to find the defendant guilty of attempt to commit obstruction of justice through

physical force or threat of physical force, you must fine that the government proved beyond a

reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the crime of obstruction of justice through

physical force or threat of physical force, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of justice

through physical force or threat of physical force which strongly corroborates or confirms that the

defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.




                                                 17
   Case 1:21-cr-00032-DLF Document 109 Filed 02/22/22 Page 18 of 18




                         Respectfully submitted,

For the Government:                               For the Defendant:

Matthew M. Graves                                        /s/
United States Attorney                            William L. Welch, III
D.C. Bar No. 481052                               D.C. Bar No. 447886
                                                  5305 Village Center Drive, Suite 142
        /s/                                       Columbia, Maryland 21044
Jeffrey S. Nestler                                Phone: 410-615-7186
Assistant United States Attorney                  Email: wlw@wwelchattorney.com
D.C. Bar No. 978296
Risa Berkower
Assistant United States Attorney
NY Bar No. 4536538
U.S. Attorney’s Office for the District of
        Columbia
555 4th Street, N.W.
Washington, D.C. 20530
Phone: 202-252-7277
Email: Jeffrey.Nestler@usdoj.gov




                                             18
